            Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 1 of 31




                   UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF PENNSYLVANIA
 TANYA MCCARTNEY and MARK
 MONTGOMERY III, Individually and as
 Administrators of the ESTATE OF KAIDON               CIVIL ACTION NO.         3:21-cv-166
 A. MONTGOMERY,
 701 3rd Avenue, 1st Floor
 Altoona, PA 16602
                                                      NOTICE TO PLEAD AND
                                        Plaintiffs    COMPLAINT

         v.

 KIDS 2, INC. f/k/a KIDS II, INC.
 3333 Piedmont Road, Suite 1800
 Atlanta, GA 30305                                    JURY TRIAL DEMANDED

 and

 KIDS 2, INC. d/b/a, t/a, a/k/a INGENUITY
 3333 Piedmont Road, Suite 1800
 Atlanta, GA 30305

                                     Defendants.


                                         COMPLAINT

       1.       Plaintiff, Tanya McCartney, is an adult citizen and resident of Pennsylvania,

residing therein at 703 3rd Avenue, 1st Floor, Altoona, Pennsylvania 16602.

       2.       Plaintiff, Mark Montgomery III, is an adult citizen and resident of Pennsylvania,

residing therein at 703 3rd Avenue, 1st Floor, Altoona, Pennsylvania 16602.

       3.       At all times relevant hereto, plaintiffs, Tanya McCartney and Mark Montgomery

III, were the parents of Kaidon A. Montgomery, a deceased minor.

       4.       Plaintiffs, Tanya McCartney and Mark Montgomery, are administrators of the

Estate of Kaidon A. Montgomery. See Short Certificate, attached as Exhibit “A.”
            Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 2 of 31




       5.       At all times relevant hereto, Defendant, Kids2, Inc., f/k/a Kids II, Inc., was a

corporation, partnership, fictitious name and/or other business entity licensed to transact business

in the Commonwealth of Pennsylvania, organized under the laws of the State of Georgia with a

principal place of business located at 3333 Piedmont Road, Suite 1800, Atlanta, Georgia 30305.

       6.       At all times relevant hereto, Defendant, Kids2, Inc., d/b/a, t/a, a/k/a Ingenuity, was

a corporation, partnership, fictitious name and/or other business entity licensed to transact business

in the Commonwealth of Pennsylvania, organized under the laws of the State of Georgia with a

principal place of business located at 3333 Piedmont Road, Suite 1800, Atlanta, Georgia 30305.

                                 VENUE AND JURISDICTION

       7.       This court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332 because the plaintiffs are each citizens of a different state than each of the defendants and the

amount in controversy exceeds $75,000.

       8.       Venue is proper in the United States District Court for the Western District of

Pennsylvania pursuant to 28 U.S.C. § 1391 because a substantial part of the events or omissions

giving rise to the claims of this action occurred in the Western District of Pennsylvania, and

because each defendant is subject to the court’s personal jurisdiction with respect to this action.

                                              FACTS

       9.       On December 30, 2019, Tanya McCartney gave birth to her child, Kaidon A.

Montgomery.

       10.      At all times, plaintiffs owned and possessed a product known as the “Ingenuity

Automatic Bouncer” inclined sleeper device (hereinafter referred to as the “Product”).

       11.      At all times material hereto the Product was manufactured, marketed, sold,

advertised, developed and otherwise placed into the stream of commerce by the defendants.



                                                  2
          Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 3 of 31




       12.     The Product was advertised, marketed, and otherwise held out to be a product which

was designed for infants to sleep in.

       13.     The Product, and the class of products known as infant inclined sleepers or

bouncers, are defective, dangerous, and unsafe for infants as they were designed to place an infant

in an unsafe position which interferes with an infant’s ability to breathe.

       14.     The Defendants knew this prior to April 3, 2020, when the Plaintiff’s Decedent

died, before December 30, 2019, when the Plaintiff’s Decedent was born, and for many years

before when Plaintiff’s Decedent was born.

       15.     Despite the defendants’ knowledge of the dangers of allowing children to sleep at

an incline, they continued to manufacture, market, sell, advertise, and otherwise place into the

stream of commerce the Product, as well as numerous other infant inclined sleeper products and

bouncers, all of which were defective, dangerous and unsafe in their design.

       16.     Inclined sleepers such as the subject product raise a child’s head and upper body to

an angle that is unsafe for any sleep.

       17.     In 1992, the American Academy of Pediatrics (“AAP”) recommended in its “Back

to Sleep” campaign that children sleep only on their backs.

       18.     Those guidelines were updated in 2005 when the AAP issued a policy statement

called “The Changing Concept of Sudden Infant Death Syndrome: Diagnostic Coding Shifts,

Controversies Regarding the Sleeping Environment and New Variables in Reducing Risk.”

       19.     This guideline stated that “infants should be placed for sleep in a supine position,

wholly on their back for every sleep.”




                                                  3
          Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 4 of 31




        20.    Further, the guidelines stated: “use a firm sleep surface: Soft materials or objects

should not be placed under a sleeping infant. A firm crib mattress covered by a sheet is the

recommended sleeping surface.”

        21.    These guidelines were adopted by the National Institute of Health.

        22.    The defendants knew of these guidelines before developing, designing,

manufacturing, or selling the Product, or any other infant inclined sleeping product.

        23.    In 2014, while in an Ingenuity Moonlight Rocking Sleeper, an infant’s mother

noticed that the sleeper placed the child in a chin-to-chest position while in the product.

        24.    The parent noted that “the sleeper lacks any kind of firm support to keep the baby

in a safe, semi-reclined position.”

        25.    This concerned parent expressed her concern that “infants this young can

asphyxiate in this position (as has been seen in some baby carriers.).”

        26.    This parent stated: “I’m concerned that this product presents an asphyxiation hazard

and therefore, is not safe for newborns.”

        27.    The parent submitted a review on the Ingenuity website expressing these concerns.

        28.    In response, the defendants sent an email stating that they would not publish the

review on the website unless the parent removed the safety concern from the review.

        29.    In addition, the defendants suggested that the parent contact the defendants’ legal

team.

        30.    The above complaint from this parent expressly notified the defendants of the

dangers of the very defects which the Product posed to infants – the inclined angle, and soft

backing can cause asphyxiation which were the very reasons which the AAP and NIH

recommendations on safe sleep had been instituted.



                                                  4
          Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 5 of 31




       31.     By censoring their product reviews to remove complaints of asphyxiation hazards,

the defendants withheld critical and lifesaving information from consumers, including plaintiffs.

       32.     Withholding this information deprived consumers of the ability to understand the

risks which products posed.

       33.     This is particularly true as it relates to the subject product given that the warnings

on the product, its labels, manuals and brochures were completely misleading and inadequate

themselves.

       34.     In 2016, the AAP issued again a policy statement titled “SIDS and Other Sleep

Related Infant Deaths: Updated 2016 Recommendations for a Safe Infant Sleep Environment”.

       35.     These guidelines reaffirmed the prior guidelines set forth above.

       36.     They recommended as a safe sleep environment “supine position, the use of a firm

sleep surface” as well as “the avoidance of soft bedding.”

       37.     These guidelines admonished manufacturers such as defendants to “follow safe

sleep guidelines in their messaging and advertising” and to “avoid the use of commercial devices

that are inconsistent with safe sleep recommendations.”

       38.     At all times, the defendants knew that infants, such as Plaintiff’s Decedent, should

be placed for sleep in a supine position wholly on their back for every sleep.

       39.     At all times, defendants knew that elevating the head of the infant’s crib is

ineffective in reducing gastroesophageal reflux and is not recommended; in addition, elevating the

head may result in the infant sliding to the foot of the crib into a position that may comprise

respiration.




                                                 5
          Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 6 of 31




       40.     At all times, the defendants knew that the best evidence suggests that infants should

continue to be placed supine until 1 year of age because rolling into soft bedding is an important

risk factor for Sudden Unexpected Infant Death after 3 months of age.

       41.     At all times, defendants knew that infants should be placed on a firm sleep surface

(safety approved mattress in a safety approved crib) covered by a fitted sheet with no other bedding

or soft objects to reduce the risk of SIDS and suffocation.

       42.     At all times, defendants knew that sitting devices such as car seats, strollers, swings,

infant carriers and infant slings are not recommended for sleep in the hospital or at home,

particularly for young infants.

       43.     At all times, defendants knew that, if an infant falls asleep in a sitting device, he or

she should be removed from the product and moved to a crib or other appropriate flat surface as

soon as is safe and practical.

       44.     At all times, defendants knew that media and manufacturers should follow safe

sleep guidelines in their messaging and advertising and that media and advertising messages

contrary to safe sleep recommendations may create misinformation about safe sleep practices.

       45.     The Product, and all products known as infant inclined sleepers or bouncers,

violated the AAP guidelines regarding safe sleep for infants and babies.

       46.     The Product does not have a firm surface. Instead, the Product has a soft backing

surrounded by excess and unsafe material.

       47.     The Product is not flat. Instead, the Product is inclined.

       48.     The Product places children, such as Plaintiff’s Decedent, in a position where the

child’s chin falls towards their chest.




                                                  6
          Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 7 of 31




       49.     The Product otherwise creates an asphyxiation/suffocation hazard, including by the

fact that the Product’s incline, angle, and design prevents the child from rolling back onto the

child’s back in the event that the child rolls onto its stomach in the Product.

       50.     The Product otherwise creates an asphyxiation/suffocation hazard, including by the

fact that the product’s incline, angle, and design prevents a child from turning its head back to a

centered position facing forward in the event that the child’s head turns or falls to one side or the

other in the Product.

       51.     The Product causes and increases the risk of harm for SIDS, SUID, positional

asphyxiation, and suffocation as a result of its dangerous and defective design.

       52.     The Plaintiff’s Decedent, Kaidon Montgomery, was the child of plaintiffs, Tanya

McCartney and Mark Montgomery III.

       53.     On April 3, 2020, plaintiffs were residing at their residence located at 104 Howard

Avenue, Altoona, Pennsylvania, 16601, along with their son Kaidon Montgomery.

       54.     The morning of April 3, 2020, plaintiffs woke up to feed their child, Kaidon

Montgomery. During this time, Kaidon was smiling and laughing.

       55.     After feeding him, plaintiffs placed Kaidon in the Product.

       56.      The morning of April 3, 2020, Kaidon was placed in the Product, Kaidon was

discovered unresponsive by plaintiffs. At this time, Kaidon was limp, and his head was turned to

one side in the Product.

       57.     Upon discovering her son, Kaidon, non-responsive, Tanya McCartney contacted

911 and the 911 operator/dispatcher instructed her to start CPR, which she did.

       58.     Tanya McCartney attempted CPR on her son Kaidon until EMS responded to the

plaintiffs’ apartment.



                                                  7
          Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 8 of 31




       59.     Upon arrival, EMS was unable to find a pulse and Kaidon Montgomery was

declared deceased.

       60.     As described throughout this Complaint, the defendants recklessly and consciously

disregarded the safety, health, and lives of babies in their decisions with respect to the design and

distribution of the Product.

       61.     Defendants recklessly and consciously disregarded the safety, health, and lives of

babies in their decisions with respect to the design and distribution of the Product despite knowing

and appreciating the risk of harm, including death to babies and infants, that resulted from their

decisions and disregard as pled throughout this Complaint.

       62.     The Plaintiff’s Decedent died as a result of the negligence, carelessness, wanton,

and reckless conduct of the Defendants and the sale and distribution of the defective and dangerous

Product which was not safe for its intended and foreseeable use.

       63.     As a direct and proximate result and cause of the defective and unreasonably

dangerous Product, and the defendants’ negligence, carelessness, recklessness, breach of

warranties, and willful and wanton conduct, Plaintiff’s Decedent asphyxiated and died.

       64.     As a direct and proximate result and cause of the defective and unreasonably

dangerous Product, and the defendants’ negligence, carelessness, recklessness, breach of

warranties, and willful and wanton conduct, plaintiffs and Plaintiff’s Decedent suffered

catastrophic and permanent injuries and damages, including:

   a. Death;

   b. Sudden Infant Death Syndrome (“SIDS”);

   c. Asphyxia;

   d. Suffocation;



                                                 8
          Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 9 of 31




    e. Hypoxia;

    f. Anoxia;

    g. Alveolar hemorrhage;

    h. Past and future physical pain and suffering;

    i. Past and future psychological pain and suffering;

    j. Mental anguish;

    k. Embarrassment;

    l. Humiliation;

    m. Future lost wages;

    n. Future lost earning capacity;

    o. Emotional distress;

    p. All damages allowable under the Wrongful Death Act;

    q. All damages allowable under the Survival Act; and

    r. Punitive damages.

        WHEREFORE, Plaintiffs demand judgment against Defendants, Kids2, Inc., f/k/a Kids

II, Inc. and Kids2, Inc., d/b/a, a/k/a, t/a Ingenuity, jointly and severally, in an amount in excess of

Seventy-Five Thousand ($75,000.00) Dollars in compensatory damages, punitive damages, delay

damages, costs and such other further relief the Court shall deem appropriate.

                                       COUNT I
                  PLAINTIFFS V. KIDS2, INC., F/K/A KIDS II, INC., AND
                      KIDS2, INC., D/B/A, A/K/A, T/A INGENUITY
                                 STRICT LIABILITY

        65.     Plaintiffs incorporate by reference the preceding paragraphs as if the same were set

forth fully herein.




                                                  9
            Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 10 of 31




       66.      At all times relevant hereto, defendants were each engaged in the business of the

design, manufacture, and sale of the Product, and designed, manufactured, and sold the Product

that plaintiffs’ son, Kaidon Montgomery, was placed in and died in.

       67.      The Product was unreasonably dangerous and defective at the time it was designed,

manufactured, and sold by the defendants and at the time of Kaidon Montgomery’s death, for all

the reasons as described throughout this Complaint and in one or more of the following ways:

       a.       The Product was designed in a dangerous manner with a dangerous angle, incline,
                makeup, and shape, that made it capable of causing infants who were placed in the
                Product to asphyxiate and/or suffocate;

       b.       The Product was designed in a dangerous manner with a dangerous angle, incline,
                makeup, and shape, that made it capable of causing infants who were placed in the
                Product to die;

       c.       The Product was designed in a dangerous manner with a dangerous angle, incline,
                makeup, and shape, that made it capable of causing infants who were placed in the
                Product to suffer serious injuries, including brain damage;

       d.       The Product was designed in a dangerous manner with a dangerous angle, incline,
                makeup, and shape, that made it capable of causing an infant’s airway to be
                obstructed or blocked;

       e.       Designing and/or manufacturing and/or selling and/or assembling a defective
                Product at an incline that causes an infant’s airway to be obstructed or blocked;

       f.       Designing and/or manufacturing and/or selling and/or assembling a defective
                Product with a defective shape and design that causes an infant in the device to
                assume positions that lead to suffocation, asphyxiation, and/or death of the infant;

       g.       Designing and/or manufacturing and/or selling and/or assembling a defective
                Product with an inadequate and/or unsafe restraint system that causes an infant in
                the device to suffocate and/or asphyxiate;

       h.       Designing and/or manufacturing and/or selling and/or assembling a defective
                Product capable of causing infants who were placed in the Product to suffer from
                injuries, deformities, and disfigurement, including plagiocephaly, brachycephaly,
                torticollis, brain damage, developmental delays, and cognitive delays;


                                                 10
     Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 11 of 31




i.       Designing and/or manufacturing and/or selling and/or assembling a defective
         Product that contains parts and materials that cause an infant in the device to
         suffocate, asphyxiate, suffer injury, and/or die;

j.       Designing and/or manufacturing and/or selling and/or assembling a defective
         Product with inadequate and/or defective safety devices and measures;

k.       Designing and/or manufacturing and/or selling and/or assembling a defective
         Product to be used for infants to sleep in despite the fact that the defective and
         dangerous design, shape, and makeup of the device causes infants sleeping in it to
         suffocate, asphyxiate, sustain injury, and/or die;

l.       Designing and/or manufacturing and/or selling and/or assembling a defective
         Product to be used for infants to sleep in overnight or all night despite the fact that
         the defective and dangerous design, shape, and makeup of the device causes infants
         sleeping in it overnight or all night to suffocate, asphyxiate, sustain injury, and/or
         die;

m.       Failing to warn that the Product should not be used for infants to sleep in;

n.       Failing to warn that the Product should not be used for infants to sleep in overnight
         or all night long;

o.       Failing to warn that the design, makeup, shape, and/or angle of the Product can
         cause an infant to suffer asphyxiation;

p.       Designing and/or manufacturing and/or selling and/or assembling a defective
         Product with a defective shape and design that utilizes fabric, cloth, and/or material
         that is unreasonably dangerous and/or unsafe, in that the fabric, cloth, and/or
         material causes infants to suffocate or asphyxiate and/or fails to provide an infant
         the ability to adequately breathe when the infant’s face comes into contact with the
         cloth, fabric, and/or material;

q.       Misrepresenting to the public, customers, and owners of the Product, that the
         Product was safe for infants to lie in and sleep in;

r.       Failing to warn that the design, makeup, shape, and/or angle of the Product can
         cause an infant to suffer suffocation;

s.       Failing to warn that the design, makeup, shape, and/or angle of the Product can
         cause an infant to suffer SIDS;




                                           11
            Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 12 of 31




       t.       Failing to perform adequate and proper testing and risk-hazard analysis on the
                Product in order to ensure it was safe for use before selling it;

       u.       Failing to warn that the design, makeup, shape, and/or angle of the Product can
                cause an infant to suffer death;

       v.       Failing to warn that the design, makeup, shape, and/or angle of the Product can
                cause an infant to suffer injuries;

       w.       Failing to warn that the design, makeup, shape, and/or angle of the Product can
                cause an infant to suffer deformity and/or disfigurement, including plagiocephaly,
                brachycephaly, and/or torticollis;

       x.       Failing to warn that the design, makeup, shape, and/or angle of the Product can
                cause an infant to suffer brain damage and/or brain injury;

       y.       Failing to timely recall the Product;

       z.       Failing to warn that the defendants knew that the Product was associated with
                numerous injuries and death suffered by numerous infants;

       aa.      Failing to seek appropriate and adequate guidance, advice, and input from all
                applicable professionals, including medical doctors, engineers, and medical
                professionals, in the Defendants’ pre-sale design and marketing of the Product in
                order to ensure the design, makeup, shape, and/or angle of the Product was safe and
                not defective prior to marketing and selling it;

       bb.      Failing to issue post-sale warnings regarding the dangers and safety hazards
                associated with the Product; and

       cc.      Failing to issue adequate post-sale warnings regarding the dangers and safety
                hazards associated with the Product.

       68.      The Product was expected to, and did, reach the plaintiffs without substantial

relevant change in the condition in which it was sold by Defendants.

       69.      The defects and conditions attendant in the Product as described throughout this

Complaint made the Product unreasonably dangerous for the use to which the Product would

ordinarily be put.



                                                 12
           Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 13 of 31




       70.     The unreasonably dangerous conditions of the Product in which Kaidon

Montgomery was placed and died in, existed when the Product in which Kaidon Montgomery was

placed and died in left the Defendants’ hands.

       71.     Inclined sleeping devices and bouncers, including the specific Product in which

Kaidon Montgomery was placed and died in, were at all times defective in assembly, manufacture,

unreasonably dangerous in design, and unaccompanied by adequate warnings concerning the

Product’s hazardous properties for all the reasons as alleged throughout the entirety of this

Complaint.

       72.     Defendants knew or should have known of the defects described in the Complaint

and/or that the Product was unreasonably dangerous and/or that the Product included inadequate

warnings. Nonetheless, the Defendants acted unreasonably, recklessly, and with a conscious

disregard of the rights of others, by failing to take steps to protect users like Plaintiffs and

Plaintiffs’ son, Kaidon Montgomery.

       73.     The injuries and damages suffered by the Plaintiffs and suffered by Plaintiffs’

Decedent, Kaidon Montgomery, were caused by the defective and unreasonably dangerous

Product.

       74.     At the time the Product in which Kaidon Montgomery was placed and died in left

the Defendants’ possession and control, it was in a defective condition.

       75.     At the time the Product in which Kaidon Montgomery was placed and died in left

the Defendants’ possession and control, it was defective because it did not meet the reasonable

expectations of an ordinary consumer.




                                                 13
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 14 of 31




       76.     At the time the Product in which Kaidon Montgomery was placed and died in left

the Defendants’ possession and control, it was defective because the risk posed by its design and

manufacture exceeded the utility, if any, of its design.

       77.     A device designed for infants to be placed in would not ordinarily cause an infant

placed in it to suffocate, asphyxiate, suffer brain damage, suffer deformities, or die, unless it was

defectively designed.

       78.      A device designed for infants to sleep in would not ordinarily cause an infant

placed in it to suffocate, asphyxiate, suffer brain damage, suffer deformities, or die, unless it was

defectively designed.

       79.     As a direct and proximate result of the defective condition and unreasonably

dangerous nature of the Product as described throughout the entirety of this Complaint, Plaintiffs

have sustained significant damages and injuries as alleged in this Complaint, and will continue to

sustain significant damages and injuries.

       80.     As a direct and proximate result of the defective condition and unreasonably

dangerous nature of the Product as described throughout the entirety of this Complaint, Plaintiffs’

Decedent, Kaidon Montgomery, sustained numerous significant damages and injuries as alleged

throughout this Complaint, including death, asphyxiation, suffocation, SIDS, physical pain and

suffering, psychological pain and suffering, future lost wages, and future loss of earning capacity.

       81.     The Defendants knew of problems of this nature concerning the Product’s design’s

capability of causing significant injuries and deaths to infants and acted in conscious disregard of

these known risks to public safety and to the safety of infants placed in Products for years, and the

Defendants’ conduct was wanton, willful, and reckless for these reasons and all the reasons as

alleged throughout the Complaint, warranting the imposition of punitive damages.



                                                 14
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 15 of 31




        WHEREFORE, Plaintiffs demand judgment against Defendants, Kids2, Inc., f/k/a Kids

II, Inc. and Kids2, Inc., d/b/a, a/k/a, t/a Ingenuity, jointly and severally, in an amount in excess of

Seventy-Five Thousand ($75,000.00) Dollars in compensatory damages, punitive damages, delay

damages, costs and such other further relief the Court shall deem appropriate.

                                     COUNT II
                 PLAINTIFFS V. KIDS2, INC., F/K/A KIDSII, INC., AND
                     KIDS2, INC., D/B/A, A/K/A, T/A INGENUITY
              BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        82.     Plaintiffs incorporate by reference the preceding paragraphs as if the same were set

forth fully herein.

        83.     Defendants breached their duty to Plaintiffs and to Plaintiffs’ son, Kaidon

Montgomery, to guarantee that the Product was fit for its ordinary uses, including as a device for

infants to be placed in, as a device for infants to sleep in, and as a device for infants to sleep

overnight and/or all night in.

        84.     The Product was not fit for infant placement due to its unsafe incline, angle,

makeup, padding, and shape.

        85.     The Product was not fit for infant sleep due to its unsafe incline, angle, makeup,

padding, and shape.

        86.     Defendants further breached their duty to Plaintiffs and to Plaintiffs’ son, Kaidon

Montgomery, to guarantee that the Product would not cause infants placed in it to suffer

suffocation, asphyxiation, injury, or death.

        87.     As a direct and proximate result of Defendants’ breach of warranty, Plaintiffs’ son,

Kaidon Montgomery, suffered from significant physical pain and suffering, disfigurement, mental

anguish, future lost wages, future lost earning capacity, psychological pain and suffering, death,

and other associated injuries and damages as set forth throughout this Complaint.

                                                  15
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 16 of 31




        88.     As a direct and proximate result of Defendants’ breach of warranty, Plaintiffs

incurred significant physical pain and suffering, emotional distress, mental anguish, psychological

pain and suffering, and other associated injuries and damages as set forth above.

        WHEREFORE, Plaintiffs demand judgment against Defendants, Kids2, Inc., f/k/a Kids

II, Inc. and Kids2, Inc., d/b/a, a/k/a, t/a Ingenuity, jointly and severally, in an amount in excess of

Seventy-Five Thousand ($75,000.00) Dollars in compensatory damages, punitive damages, delay

damages, costs and such other further relief the Court shall deem appropriate.

                                COUNT III
            PLAINTIFFS V. KIDS2, INC., F/K/A KIDSII, INC., AND
                KIDS2, INC., D/B/A, A/K/A, T/A INGENUITY
 BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE

        89.     Plaintiffs incorporate by reference the preceding paragraphs as if the same were set

forth fully herein.

        90.     Defendants breached their duty to Plaintiffs and to Plaintiffs’ son, Kaidon

Montgomery, to guarantee that the Product was fit for its intended purposes, including as a device

for infants to be placed in, as a device for infants to sleep in, and as a device for infants to sleep

overnight and/or all night in.

        91.     The Product was not fit for its intended purposes, including infant placement and

infant sleep, due to its dangerous and defective design, unsafe incline, unsafe angle, makeup,

padding, and shape.

        92.     The Product was not fit for its intend purposes of infant sleep due to its unsafe

incline, angle, makeup, padding, and shape.

        93.     Defendants further breached their duty to Plaintiffs and to Plaintiffs’ son, Kaidon

Montgomery, to guarantee that the Product would not cause infants placed in it to suffer

suffocation, asphyxiation, injury, or death.

                                                  16
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 17 of 31




        94.     As a direct and proximate result of Defendants’ breach of warranty, Plaintiffs’ son,

Kaidon Montgomery, suffered from significant physical pain and suffering, disfigurement, mental

anguish, future lost wages, future lost earning capacity, psychological pain and suffering, death,

and other associated injuries and damages as set forth above.

        95.     As a direct and proximate result of Defendants’ breach of warranty, Plaintiffs

incurred significant emotional distress, mental anguish, psychological pain and suffering, and

other associated injuries and damages as set forth above.

        WHEREFORE, Plaintiffs demand judgment against Defendants, Kids2, Inc., f/k/a Kids

II, Inc. and Kids2, Inc., d/b/a, a/k/a, t/a Ingenuity, jointly and severally, in an amount in excess of

Seventy-Five Thousand ($75,000.00) Dollars in compensatory damages, punitive damages, delay

damages, costs and such other further relief the Court shall deem appropriate.

                                          COUNT IV
                      PLAINTIFFS V. KIDS2, INC., F/K/A KIDSII, INC., AND
                          KIDS2, INC., D/B/A, A/K/A, T/A INGENUITY
                             BREACH OF EXPRESS WARRANTY

        96.     Plaintiffs incorporate by reference the preceding paragraphs as if the same were set

forth fully herein.

        97.     The Defendants marketed, sold, and advertised the Product device as a “sleeper.”

        98.     The Defendants’ labeling and advertising of the Product stated that it was safe for

unsupervised infant use and sleep.

        99.     The Defendants sold the Product with the express warranty that it was safe for

infant sleep, safe for infant use, safe for unsupervised use, and free from defects.

        100.    At the time of the sale of each Product, the Defendants knew, or should have known,

or were reckless in consciously disregarding the rights and safety of others, of the Product’s

defective nature and unsafe environment for infant use and infant sleep. Despite this, the

                                                  17
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 18 of 31




Defendants never provided any warning regarding the safety hazards or dangers that the Product

device posed to infants, and the Defendants continued to manufacture, sell, design, assemble,

market, and advertise the Product device.

       101.    As a direct and proximate result of the Defendants’ express breach of warranty,

numerous infants have been injured and killed, including Plaintiffs’ son, Kaidon Montgomery.

       102.    The Plaintiffs obtained and used the falsely labeled Product device and they would

not have obtained or used the Product device had they known that the Product device was in fact

not safe for use, not safe for prolonged use, not safe for sleep, and not safe for overnight or all

night sleep.

       103.    As a direct and proximate result of Defendants’ breach of warranty, Plaintiffs’ son,

Kaidon Montgomery, suffered from significant physical pain and suffering, disfigurement, mental

anguish, future lost wages, future lost earning capacity, psychological pain and suffering, death,

and other associated injuries and damages as set forth above.

       104.    As a direct and proximate result of Defendants’ breach of warranty, Plaintiffs

incurred significant emotional distress, mental anguish, psychological pain and suffering, and

other associated injuries and damages as set forth above.

       105.    As a direct and proximate result of the Defendants’ express breach of warranty, the

Plaintiffs were induced to purchase and/or use and/or obtain a product unfit for its intended use

and therefore without value.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Kids2, Inc., f/k/a Kids

II, Inc. and Kids2, Inc., d/b/a, a/k/a, t/a Ingenuity, jointly and severally, in an amount in excess of

Seventy-Five Thousand ($75,000.00) Dollars in compensatory damages, punitive damages, delay

damages, costs and such other further relief the Court shall deem appropriate.



                                                  18
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 19 of 31




                                          COUNT V
                      PLAINTIFFS V. KIDS2, INC., F/K/A KIDSII, INC., AND
                          KIDS2, INC., D/B/A, A/K/A, T/A INGENUITY
                                        NEGLIGENCE

        106.    Plaintiffs incorporate by reference all preceding paragraphs as if the same were set

forth fully herein.

       107.     Defendants were negligent in one or more of the following ways:

                a. Designing and/or manufacturing and/or selling and/or assembling a defective
                   Product capable of causing infants who were placed in the Product to asphyxiate
                   and/or suffocate;

                b. Designing and/or manufacturing and/or selling and/or assembling a defective
                   Product capable of causing infants who were placed in the Product to die;

                c. Designing and/or manufacturing and/or selling and/or assembling a defective
                   Product capable of causing infants who were placed in the Product to suffer
                   serious injuries, including brain damage;

                d. Designing and/or manufacturing and/or selling and/or assembling a defective
                   Product at an angle that causes an infant’s airway to be obstructed or blocked;

                e. Designing and/or manufacturing and/or selling and/or assembling a defective
                   Product at an incline that causes an infant’s airway to be obstructed or blocked;

                f. Designing and/or manufacturing and/or selling and/or assembling a defective
                   Product with a defective shape and design that causes an infant in the device to
                   assume positions that lead to suffocation, asphyxiation, and/or death of the
                   infant;

                g. Designing and/or manufacturing and/or selling and/or assembling a defective
                   Product with an inadequate and/or unsafe restraint system that causes an infant
                   in the device to suffocate and/or asphyxiate;

                h. Designing and/or manufacturing and/or selling and/or assembling a defective
                   Product with a defective shape and design that utilizes fabric, cloth, and/or
                   material that is unreasonably dangerous and/or unsafe, in that the fabric, cloth,
                   and/or material causes infants to suffocate or asphyxiate and/or fails to provide
                   an infant the ability to adequately breathe when the infant’s face comes into
                   contact with the cloth, fabric, and/or material;


                                                 19
Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 20 of 31




    i. Designing and/or manufacturing and/or selling and/or assembling a defective
       Product capable of causing infants who were placed in the Product to suffer
       from injuries, deformities, and disfigurement, including plagiocephaly,
       brachycephaly, torticollis, brain damage, developmental delays, and cognitive
       delays;

    j. Designing and/or manufacturing and/or selling and/or assembling a defective
       Product that contains parts and materials that cause an infant in the device to
       suffocate, asphyxiate, suffer injury, and/or die;

    k. Designing and/or manufacturing and/or selling and/or assembling a defective
       Product with inadequate and/or defective safety devices and measures;

    l. Designing and/or manufacturing and/or selling and/or assembling a defective
       Product to be used for infants to sleep in despite the fact that the defective and
       dangerous design, shape, and makeup of the device causes infants sleeping in it
       to suffocate, asphyxiate, sustain injury, and/or die;

    m. Designing and/or manufacturing and/or selling and/or assembling a defective
       Product to be used for infants to sleep in overnight or all night despite the fact
       that the defective and dangerous design, shape, and makeup of the device causes
       infants sleeping in it overnight or all night to suffocate, asphyxiate, sustain
       injury, and/or die;

    n. Failing to warn that the Product should not be used for infants to sleep in;

    o. Failing to warn that the Product should not be used for infants to sleep in
       overnight or all night long;

    p. Failing to warn that the design, makeup, shape, and/or angle of the Product can
       cause an infant to suffer asphyxiation;

    q. Misrepresenting to the public, customers, and owners of the Product, that the
       Product was safe for infants to lie in and sleep in;

    r. Failing to warn that the design, makeup, shape, and/or angle of the Product can
       cause an infant to suffer suffocation;

    s. Failing to warn that the design, makeup, shape, and/or angle of the Product can
       cause an infant to suffer SIDS;

    t. Failing to perform adequate and proper testing and risk-hazard analysis on the
       Product in order to ensure it was safe for use before selling it;

                                     20
Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 21 of 31




    u. Failing to warn that the design, makeup, shape, and/or angle of the Product can
       cause an infant to suffer death;

    v. Failing to warn that the design, makeup, shape, and/or angle of the Product can
       cause an infant to suffer injuries;

    w. Failing to warn that the design, makeup, shape, and/or angle of the Product can
       cause an infant to suffer deformity and/or disfigurement, including
       plagiocephaly, brachycephaly, and/or torticollis;

    x. Failing to warn that the design, makeup, shape, and/or angle of the Product can
       cause an infant to suffer brain damage and/or brain injury;

    y. Failing to timely recall the Product;

    z. Failure to warn that the Defendants knew that the Product was associated with
       numerous injuries and death suffered by numerous infants;

    aa. Failure to seek appropriate and adequate guidance, advice, and input from all
        applicable professionals, including medical doctors, engineers, and medical
        professionals, in the Defendants’ pre-sale design and marketing of the Product
        in order to ensure the design, makeup, shape, and/or angle of the Product was
        safe and not defective prior to marketing and selling it;

    bb. Continuing to market and sell the Product despite being notified by numerous
        individuals and organizations, including parents, customers, governmental
        agencies, medical doctors, and medical groups or organizations, that the
        Product was unsafe, defective, and had caused deaths, injuries, deformities, and
        disfigurements to numerous infants who were placed in the Product;

    cc. Continuing to market and sell the Product despite knowing that the defective
        design of the Product had caused or contributed to the deaths and injuries of
        numerous infants;

    dd. Failing to issue post-sale warnings regarding the dangers and safety hazards
        associated with the Product;

    ee. Failing to issue adequate post-sale warnings regarding the dangers and safety
        hazards associated with the Product; and




                                     21
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 22 of 31




               ff. Continuing to market and sell the Product as a device to be used as a sleeper
                   despite knowing that the Product was unsafe and defective as a sleeping device
                   for infants.

       108.    The defects and conditions attendant in the Product’s design described throughout

this Complaint made the Products, including the Product in which Kaidon Montgomery was placed

in and died in, unreasonably dangerous for the use to which the Products would ordinarily be put.

       109.    The unreasonably dangerous conditions of the Products, including the Product in

which Kaidon Montgomery was placed and died in, as described throughout this Complaint,

existed when the Products, including the specific Product in which Kaidon Montgomery was

placed and died in, left the Defendants’ hands.

       110.    The Products, including the specific Product in which Kaidon Montgomery was

placed and died in, were at all times defective in assembly, manufacture, unreasonably dangerous

in design, and unaccompanied by adequate warnings concerning the Product’s hazardous

properties for all the reasons as alleged throughout the entirety of this Complaint.

       111.    Defendants knew or should have known of the defects described in the Complaint

and/or that the Product was unreasonably dangerous and/or that the Product included inadequate

warnings. Nonetheless, the Defendants acted unreasonably, recklessly, and with a conscious

disregard of the rights of others, by failing to take steps to protect users like Plaintiffs and

Plaintiffs’ son, Kaidon Montgomery

       112.    Plaintiffs relied on the Defendants’ misrepresentations in purchasing, acquiring,

and using the Product.

       113.    At the time of the sale of each Product, including the Product Plaintiffs’ son, Kaidon

Montgomery, used, Defendants knew or should have known that their representations about the

safety of the Product were false.


                                                  22
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 23 of 31




       114.    The Defendants’ misrepresentations that the Product was safe were material to the

purchasing decisions and decisions to use the Product on the part of the consuming public,

including Plaintiffs.

       115.    By their conduct and lack of action, the Defendants displayed a conscious

indifference to the circumstances surrounding the design, manufacture, sale, assembling and

ultimate use of the Product where the probability of injury to others was apparent and otherwise

engaged in conduct that created a substantial risk of physical injury to Plaintiffs and Plaintiffs’

son, Kaidon Montgomery, when Defendants knew, or in the exercise of reasonable care should

have known, of the existence of such a risk.

       116.    As a direct and proximate result of Defendants’ negligence and reckless

indifference, Plaintiffs’ son, Kaidon Montgomery, suffered significant physical pain and suffering,

disfigurement, mental anguish, future lost wages, future lost earning capacity, psychological pain

and suffering, death, and other associated injuries and damages as set forth above.

       117.    As a direct and proximate result of Defendants’ negligence and reckless

indifference, Plaintiffs incurred significant emotional distress, mental anguish, psychological pain

and suffering, and other associated injuries and damages as set forth above and throughout this

Complaint.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Kids2, Inc., f/k/a Kids

II, Inc. and Kids2, Inc., d/b/a, a/k/a, t/a Ingenuity, jointly and severally, in an amount in excess of

Seventy-Five Thousand ($75,000.00) Dollars in compensatory damages, punitive damages, delay

damages, costs and such other further relief the Court shall deem appropriate.




                                                  23
             Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 24 of 31




                                          COUNT VI
                      PLAINTIFFS V. KIDS2, INC., F/K/A KIDSII, INC., AND
                          KIDS2, INC., D/B/A, A/K/A, T/A INGENUITY
                                           FRAUD

        118.     Plaintiffs incorporate by reference all preceding paragraphs as if the same were set

forth fully herein.

        119.     As alleged throughout this Complaint, the Defendants, through their marketing

materials, targeted advertising, websites, and the packaging of the Product, consistently and falsely

represented to the public throughout the period they were selling the Product that the Product was

safe for infant use and sleep.

        120.     The Defendants made numerous representations knowing that they were false or

with reckless indifference to the truth, including without limitation:

        a.       Sale of the Product as a “sleeper” device, product and/or bouncer;

        b.       Marketing, advertising, and labeling the Product as safe for sleep;

        c.       Marketing, advertising, and labeling the Product as safe for unsupervised sleep;

        d.       Marketing, advertising, and labeling the Product as safe for infants to lie in;

        e.       Marketing, advertising, and labeling the Product as safe for overnight sleep;

        f.       Marketing, advertising, and labeling the Product as conducive to safe sleeping;

        g.       Marketing, advertising, and labeling the Product as a product that was safe from
                 the point of birth of the child until the child is able to grasp the side of the Product
                 and pull himself or herself upward or sit unassisted; and

        h.       Marketing, advertising, and labeling the Product as a product that falls under the
                 AAP’s safe sleep recommendations.

        121.     Defendants, through their marketing materials, targeted advertising, websites, and

the packaging of the Product, consistently and falsely omitted material facts and information from

the public, customers, purchasers, parents, and owners of the Product, throughout the period that

                                                   24
            Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 25 of 31




the Defendants were selling the Product. The Defendants made these material omissions and false

statements knowing that the information presented was incomplete, untrue, and with reckless

indifference to the truth. These material omissions include, but are not limited to, the Defendants’

failures to inform buyers and users of the Product that:

       a.       The Product was not safe for infants to lie in;

       b.       The Product was not safe for infants to sleep in;

       c.       The Product failed to conform to the AAP’s safe sleep standards and
                recommendations;

       d.       The Product was not safe for infants to sleep in all night long;

       e.       The Product’s design, including its incline and angle, was unsafe for children;

       f.       The Product’s design, including its incline and angle, could cause an infant to
                suffocate, asphyxiate, and/or die;

       g.       The Product’s design, including its incline and angle, could cause an infant to suffer
                deformities or disfigurement including plagiocephaly, brachycephaly, and/or
                torticollis;

       h.       The Product’s design, including its incline and angle, could cause an infant to suffer
                hypoxic and/or anoxic brain damage; and

       i.       The Product had been linked to numerous infants’ injuries and deaths.

       122.     The Defendants made these false statements and material omissions intending that

the consuming public and users of the Product would rely on them in purchasing or using the

Product.

       123.     These false statements and material omissions were made uniformly to the

consuming public, parents, owners of the Product, and prospective customers. These individuals,

including the Plaintiffs, relied on the Defendants’ misrepresentations and material omissions




                                                 25
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 26 of 31




regarding the Product and would not have purchased, obtained, or used a Product had the

Defendants not represented that the Product was a safe product for infants to use.

       124.    As a direct and proximate result of the Defendants’ material misrepresentations and

material omissions regarding the Product, hundreds of infants have been injured and killed,

including Plaintiffs’ son, Kaidon Montgomery.

       125.    As a direct and proximate result of Defendants’ fraud, Plaintiffs’ son, Kaidon

Montgomery, suffered from significant physical pain and suffering, disfigurement, mental

anguish, future lost wages, future lost earning capacity, psychological pain and suffering, death,

and other associated injuries and damages as set forth above.

       126.    As a direct and proximate result of Defendants’ fraud, Plaintiffs incurred significant

emotional distress, mental anguish, psychological pain and suffering, and other associated injuries

and damages as set forth above.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Kids2, Inc., f/k/a Kids

II, Inc. and Kids2, Inc., d/b/a, a/k/a, t/a Ingenuity, jointly and severally, in an amount in excess of

Seventy-Five Thousand ($75,000.00) Dollars in compensatory damages, punitive damages, delay

damages, costs and such other further relief the Court shall deem appropriate.

                                      COUNT VII
                  PLAINTIFFS V. KIDS2, INC., F/K/A KIDSII, INC., AND
                      KIDS2, INC., D/B/A, A/K/A, T/A INGENUITY
                 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

       127.    At all times material hereto, Plaintiff, Tanya McCartney, was the mother of

Plaintiffs’ Decedent, Kaidon Montgomery, a deceased minor.

       128.    At all times material hereto, Plaintiff, Mark Montgomery III, was the father of

Plaintiffs’ Decedent, Kaidon Montgomery, a deceased minor.




                                                  26
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 27 of 31




       129.    On April 3, 2020, Plaintiffs witnessed the traumatic event of personally observing

their son, Kaidon Montgomery, dead, unresponsive, not breathing, limp, pulseless, blue, and

lifeless as a result of his placement in the negligently and defectively designed Product.

       130.    Plaintiffs were forced to see and hold the dead body of their son, Kaidon

Montgomery, as a result of Kaidon Motgomery’s placement in the negligently and defectively

designed Product.

       131.    As a result of personally witnessing and observing their son, Kaidon Montgomery,

dead, unresponsive, not breathing, limp, pulseless, and blue, as a result of his placement in the

negligently and defectively designed Product, Plaintiffs experienced severe emotional distress and

pain and suffering.

       132.    Plaintiffs were present for and personally observed the Product, in its negligently

designed, defective, and unreasonably dangerous condition, for numerous days leading up to and

including the day Plaintiffs’ son Kaidon Montgomery died in the Product.

       133.    Plaintiffs were located at the scene of the negligently and recklessly inflicted injury

and death to their son, Kaidon Montgomery, and were forced to personally and contemporaneously

observe the traumatic and horrific result of the negligently and recklessly inflicted injury and death

to their son Kaidon Montgomery, when they witnessed Kaidon Montgomery dead, unresponsive,

not breathing, limp, pulseless, and blue, as a result of his placement in the negligently and

defectively designed Product.

       134.    Plaintiffs each experienced shock, outrage, severe emotional and psychological

distress and damage, sadness, fright, fear, anxiety, and panic, in seeing their son, Kaidon

Montgomery, dead, unresponsive, not breathing, limp, pulseless, and blue, as a result of his




                                                 27
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 28 of 31




placement in the negligently and defectively designed Product, and Plaintiffs’ observation of

Kaidon Montgomery’s condition was contemporaneous.

       135.    The negligence and recklessness of the Defendants with respect to their design,

manufacture, sale, distribution, marketing, and advertising of their inclinued sleeper and/or

bouncer products, including the Product (and specifically the Product in which Plaintiffs’

Decedent, Kaidon Montgomery, died) was continuing, and said negligence occurred in the

presence of Kaidon Montgomery’s parents, Plaintiffs, including on the day that Plaintiffs were

forced to personally observe their son Kaidon Montgomery dead, unresponsive, not breathing,

limp, pulseless, and blue, as a direct and proximate result of the negligent, reckless, and careless

conduct of the Defendants as alleged throughout this Complaint.

       136.    As a direct and proximate result of the negligence and recklessness of the

Defendants and their agents and/or employees as specifically described and/or identified herein

and Plaintiffs’ contemporary observation of the Defendants’ negligent and reckless acts and/or

omissions and Plaintiffs’ Decedent’s resulting fatal injuries, Plaintiffs each suffered severe

emotional distress, as well as physical injury and physical manifestations from the emotional

distress, some or all of which may be permanent in nature.

       WHEREFORE, Plaintiffs demand judgment against Defendants, Kids2, Inc., f/k/a Kids

II, Inc. and Kids2, Inc., d/b/a, a/k/a, t/a Ingenuity, jointly and severally, in an amount in excess of

Seventy-Five Thousand ($75,000.00) Dollars in compensatory damages, punitive damages, delay

damages, costs and such other further relief the Court shall deem appropriate.




                                                  28
          Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 29 of 31




                               FIRST CAUSE OF ACTION
                                 WRONGFUL DEATH
                   PLAINTIFFS V. KIDS2, INC., F/K/A KIDSII, INC., AND
                       KIDS2, INC., D/B/A, A/K/A, T/A INGENUITY

         137.   Plaintiffs incorporate by reference the preceding paragraphs as though each were

set forth herein at length.

         138.   Plaintiffs bring this action pursuant to the Wrongful Death Act 42 Pa. C.S.A.

Section 801 and claims all damages recoverable under the Pennsylvania Wrongful Death Act.

         139.   The names and last known addresses of all persons who may be entitled by law to

recover damages, as well as their relations to decedent Kaidon A. Montgomery are as follows:

                a. Tanya McCartney, Mother
                   703 3rd Avenue, 1st Floor,
                   Altoona, Pennsylvania 16602

                b. Mark Montgomery, III, Father
                   703 3rd Avenue, 1st Floor,
                   Altoona, Pennsylvania 16602

         140.   As a direct and proximate result of the foregoing, the Decedent’s Wrongful Death

beneficiaries have been, continue to be, and will in the future be deprived of his counsel, services,

companionship and society.

         141.   As a direct and proximate result of the Defendants’ negligence, recklessness, strict

liability, breach of warranties, fraud, and carelessness as set forth above, which is incorporated

herein, Kaidon Montgomery’s Wrongful Death beneficiaries suffered, are suffering, and will, for

an indefinite period of time in the future suffer damages, injuries and losses including but not

limited to, a loss of financial support, and the beneficiaries have been wrongfully deprived of the

contributions they would have received from him, including monies which he would have provided

for items such as clothing, food, shelter, medical care, education and entertainment, recreation and

gifts.

                                                 29
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 30 of 31




        142.    As a direct and proximate result of the Defendants’ negligence and carelessness as

set forth above, which is incorporated herein, Kaidon Montgomery’s Wrongful Death beneficiaries

have been caused to incur and pay various expenses for medical treatment, hospital care, custodial

care, nursing care and medications, and funeral and other expenses related to his death.

        143.    Plaintiffs demand all damages recoverable under the Wrongful Death Act for the

death of their son, Kaidon Montgomery.

        WHEREFORE, Plaintiffs demand judgment against Defendants, Kids2, Inc., f/k/a Kids

II, Inc. and Kids2, Inc., d/b/a, a/k/a, t/a Ingenuity, jointly and severally, in an amount in excess of

Seventy-Five Thousand ($75,000.00) Dollars in compensatory damages, punitive damages, delay

damages, costs and such other further relief the Court shall deem appropriate.

                             SECOND CAUSE OF ACTION
                                 SURVIVAL ACTION
                   PLAINTIFFS V. KIDS2, INC., F/K/A KIDSII, INC., AND
                       KIDS2, INC., D/B/A, A/K/A, T/A INGENUITY

        144.    Plaintiffs incorporate by reference the preceding paragraphs as though each were

set forth herein at length.

        145.    Plaintiffs brings this action on behalf of the Estate of Kaidon Montgomery,

deceased, by virtue of the Survival Act, 42 Pa. C.S.A. § 8302, and claim all benefits of the Survival

Act on behalf of Kaidon Montgomery’s Estate and other persons entitled to recover under law.

        146.    As a direct and proximate result of the Defendants’ negligence, recklessness, strict

liability, breach of warranties, fraud, and carelessness as set forth above, which is incorporated

herein, Plaintiffs claim on behalf of the Estate of Kaidon Montgomery all damages suffered by the

Estate by reason of the death of Kaidon Montgomery including without limit the generality of the

following: the severe injuries to Kaidon Montgomery which resulted in his death; the anxiety,

horror, fear of impending death, mental disturbance, pain, suffering and other intangible losses

                                                  30
         Case 3:21-cv-00166-SLH Document 1 Filed 09/17/21 Page 31 of 31




which Kaidon Montgomery suffered prior to his death; the loss of past, present and future earning

capacity suffered by Kaidon Montgomery from the date of his death until the time in the future he

would have lived had he not died as a result of the injuries he sustained; expenses for medical care;

the loss and total imitation and deprivation of his normal activities, enjoyment of life, pursuits and

life’s pleasures from the date of his death until such time in the future as he would have lived had

he not died as a result of the injuries sustained.

        147.    Plaintiffs demand all damages recoverable under the Survival Act for the death of

their son, Kaidon Montgomery.

        WHEREFORE, Plaintiffs demand judgment against Defendants, Kids2, Inc., f/k/a Kids

II, Inc. and Kids2, Inc., d/b/a, a/k/a, t/a Ingenuity, jointly and severally, in an amount in excess of

Seventy-Five Thousand ($75,000.00) Dollars in compensatory damages, punitive damages, delay

damages, costs and such other further relief the Court shall deem appropriate.



                                                          Respectfully submitted,

                                                          KLINE & SPECTER, P.C.



                                                      By: ___________________________________
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                                                     31
